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                    EXHIBIT B
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From: Kenneth Chaiken [mailto:kchaiken@chaikenlaw.com]
Sent: Wednesday, September 06, 2017 5:09PM
To: 'Gelsone, Amy'
Cc: Matthew Sullivan; 'brhea@dbcllp.com'; Hoffman, Rob; Lisa Caldwell
Subject: Lucero Apartments

Amy:

As you know, WJE is a party to the two agreements that are attached to this email, by which it has provided consulting
services to and for the benefit of 2013 Travis Oak Creek, LP, the owner of the Lucero Apartments, at the request of 2013
Travis Oak Creek GP, LLC, its general partner.

Recently, 2013 Travis Oak Creek GP, LLC was temporarily removed as the general partner of 2013 Travis Oak Creek, LP
while federal court litigation between that entity and the partnership's limited partners is pending. Columbia Housing
SLP Corporation presently is the acting general partner for 2013 Travis Oak Creek, LP. Columbia and PNC Bank, NA are
represented by Andrews and Kurth, and Rob Hoffman (copied here) is their counsel in the federal court case.

Presently, Mr. Hoffman and others from his firm represent 2013 Travis Oak Creek, LP in the Weis Builder's lawsuit
and Matt Sullivan and I no longer represent that entity, although we continue to represent 2013 Travis Oak Creek GP,
LLC- the party WJE has been dealing with-in the Weis litigation.

Mr. Hoffman apparently intends to call upon WJE to continue its role as an expert consultant in the Weis litigation
matter, and he certainly has the right to ask. However, in evaluating what WJE intends to do in response to any such
request, WJE should know that it will be a witness in the federal court litigation proceeding between Mr. Hoffman's
clients and 2013 Travis Oak Creek GP, LLC (and some of its affiliates) about disputed matters in that case. One of those
disputed matters, placed into dispute by Mr. Hoffman's clients, involves the correctness or necessity of WJE's work thus
far, in connection with the We is litigation. At this juncture, we do not know whether the need for WJE to act as a witness
in a lawsuit between different factions of its client creates an actual or just potential conflicts of interest-this is a most
unusual situation-- but I must confirm that 2013 Travis Oak Creek GP, LLC is not willing to waive any actual or potential
conflicts that may exist now or in the future.


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Please do not hesitate to let me know if you have any questions or concerns about the foregoing.

Regards,

Kenneth Chaiken



Kenneth B. Chaiken
Chaiken & Chaiken, P.C.
5801 Tennyson Parkway, Suite 440
Plano, Texas 75024
214/265-0250 main
214/722-9494 direct
214/265-1537 fax
kchaiken@chaikenlaw.com




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